   Case 6:12-cr-00001-JRH-BKE Document 587 Filed 12/17/19 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                STATESBORO DIVISION




UNITED STATES OF AMERICA


        V.                                              OR 612-001-6


EDDIE LITTLES III




                                      ORDER




        On   December     2, 2019,    Defendant        Eddie    Littles   III   filed     a

motion to reduce his sentence pursuant to Section 404 of the First

Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194, 5222 (2018),

which    permits      a   district    court   to       reduce    the    sentence    of    a

defendant convicted of a "covered offense" as if certain provisions

of the Fair Sentencing Act of 2010, Pub. L. No. 111-220, 124 Stat.

2372,    2372      (2012),    were   in   effect   at    the     time   the   defendant

committed the covered offense.


        As explained in the Government's opposition brief, the First

Step Act does not apply to Defendant's sentence for two reasons.

First, Defendant was charged, convicted and sentenced after August

3, 2010; therefore, his conviction is not a covered offense under

the First Step Act.            See First Step Act, Pub. L. No. 115-391, §

404(a),      132    Stat.    5194    (defining     a    "covered       offense"    as    "a

violation . . . that was committed before August 3, 2010" (emphasis

added)).        Second,      Defendant    was convicted         under the statutory
   Case 6:12-cr-00001-JRH-BKE Document 587 Filed 12/17/19 Page 2 of 2



penalty of 21 U.S.C. § 841(b)(1)(C), which was not amended by the

Fair Sentencing Act of 2010; thus, the First Step Act does not

apply.     See United States v. Brown, 785 F. App'x 189, 190 (11^^

Cir. 2019).

        Upon the foregoing.   Defendant's motion to reduce sentence

(doc. 585) is hereby DENIED.

     ORDER ENTERED at Augusta, Georgia, this y-T^dav of December,
2019.




                                        J. FfeNDM HALL,' CHIEF JUDGE
                                        UNITED ^ATES DISTRICT COURT
                                        SOUTHEBfN   DISTRICT   OF GEORGIA
